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                                UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF INDIANA
                                    FORT WAYNE DIVISION

 GORSS MOTELS, INC., individually and on               )
 behalf of a class of similarly-situated persons,      )
                                                       )       No. 1:16-cv-00330-HAB
                                Plaintiff,             )
                        v.                             )
                                                       )
 BRIGADOON FITNESS, INC., BRIGADOON                    )
 FINANCIAL, INC., and JOHN DOES 1-5,                   )
                                                       )
                                Defendants.            )

                                      NOTICE OF APPEAL

        Plaintiff, Gorss Motels, Inc., hereby files this Notice of Appeal from (1) the Opinion &

Order entered in this action on May 20, 2019, denying Plaintiff’s Motion for Class Certification

(Doc. 96); (2) the Opinion & Order entered November 4, 2019, denying Plaintiff’s Motion to

Reconsider Denial of Class Certification and Amended Motion for Class Certification (Doc. 126);

(3) the Opinion & Order entered May 21, 2020, granting Defendant’s Motion for Leave to File

Amended Answer and Affirmative Defenses (Doc. 143); (4) the Opinion & Order entered January

26, 2021, to the extent it granted summary judgment to Plaintiff individually, rather than on behalf

of the putative class (Doc. 149); and (5) the Judgment entered January 27, 2021, to the extent it

entered judgment in favor of Plaintiff individually, rather than on behalf of the putative class (Doc.

150).

Dated: February 25, 2021                       Gorss Motels, Inc.,

                                       By:      /s/ Ryan M. Kelly
                                               Ryan M. Kelly
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on February 25, 2021, I electronically filed the foregoing with the
Clerk of the Court using the CM/ECF system which will send notification of such filing to all
attorneys of record.

                                              s/ Ryan M. Kelly
